44

 
   

Revised 03/06 WDNY UNITED STATES DISTRICT COURT kw _-_j§`_~
WESTERN DISTRICT OF NEW YORK ’1~`&0 énEWE,,"_-\_L_-..* \'!_;,L/
` ` Ul l -
` _.-»'

FORM TO BE USED IN FILING A CIVIL COMPLAINT IN FEDERAL COUl‘I""`l-`”
(Non-Prisoner Context)

All material filed in this Court is now available via the INTERNET. See Pro Se Privacy Notice for further information

18 C\l 6789 CTS

A. Fllll Nallle 0f Plainfiff: NOTEZ If more than one plaintijjr files this action and seeks in forma pauperis status, each plaintijjr
must submit an in forma pauperis application or the only plaintijj‘to be considered will be the plaintijj'whofiled an applicationl

lral&&c l\/l cst“§€)) pl&i'm“l_*i'l?pr~ Clai m&n"l“

1. CAPTION OF ACTION

_VS-

B. Full Name(S) OfDefendallt(S) NOTE: Pursuant to Fed.R. Civ.P. 10(a), the names ofallparties must appear in the caption.
The court may not consider a claim against anyone not identified in this section as a defendant. Add a Sepal`af€ Sh€€t, ifneC€SSaI'y.

1. Q`OY\Z€M@~\_-/qu 05 4. ijl`e€£l O\CLOG l _ , _ .
2_ E)Dlob\j \/jl,v("'\?@/] l 5. SFlY\€€/`l"\dé`én\?l\`>`l:)l&fl€'f`)%€m lpl©\l(¥m`l'
3. lbo_il~t`\`/c'\&i /-\“\-’iirbn{t> l\la§)l€f 6. `J d 1

2. STATEMENT OF JURISDICTION, VENUE and NATURE OF SUIT
All of these sections MUST be answered

ldentify the basisforfederal Courtjurisdiction overyour claim, such as that the United States government is aparty to the action, all the
parties reside in different states and therefore you claim diversityjurisdiction, or the claim presents afederal question or arises under

federal law.
A. Basis ofJurisdiction in Federal Court: FY‘Q 1a Cl Mr‘l 3 LO\"!/\(_l l C¢B '».l:)\l \"SU Ct_.YT\_J\-D l% U¢ S¢~
\Z)‘“l\~ \<5 U.,SQ Cocle»$& \DB)-l_ l D\:_")S; \Dufaum'rl"l'o l g U.- Si C{=<ies§ 1032§)

C@@l@
" v , .
eucm~\~ 40 \K \),%¢ C,oc\@§ lq€>l
State why the Western District ofNew York is the proper venuefor this action, such as thatyour claim arises in or the defendant resides

P u t
in the 17 westernmost counties ofNew York State.
nue in the Western District: j\ l l_ I\DG_X` "l`\‘ &.¢§ Y`@S l Cl€) \ n `l'\/`\C} \/\l_€S‘l`Cb/`Y]

B. Reason for V
D \S~\_Y”`\`c‘;l' l\\ CLD \'lo YKJ
Identify the nature ofthis action, such as that it is a civil rights claim, apersonal injury orpersonalproperty (tort) claim, aproperty rights
claim, or whatever it is.
c. Nawre ofsuic: l:'t` mal a,ncl ~%'o;i l ml las facial Tn~ler-l:e,zfenc e)
\@\;\_~\m clam mexce) cl a a -l~@ Slrre@§r owing whom +lne)
§ \ ocf ` c, ` `

\Si-l~@cm m`…©{`\@lz>\oji`cc;_.l dePCnClC'U/)'ll§

 
 

ala
&c § ajam$ l>\o;m

 

CaSe 6:18-oV-06789-C.]S Dooument 1 Filed 11/01/18 Page 2 of 21

 

3. PARTIES TO THIS ACTION
PLAINTIFF’S INFORMATION NOTE: To list additional plaintiffs, use this format on another sheet of paper
Name of First Plaintiff: l,\) l §Ck l\ /l O 'l" i_> €) ,_\

PresentAddress l:).(\ l;)§C’§( 0l 30 ‘3> `j l”l CCl”l €i%*l?p\/`l\ l\l\/l l L`l lO(:l il

Yl
Name of Second Plaintiff: l‘\\ lD/`L.l\/\OPS€)/ 5 `l_L»L)lJ wm ii .l C’l ("Q lC/§l lCl/]€ YlCleTl§
Present AddreSS. v 0 l?) CX q ,Q b 151/li g ll C/l/)€,iq"(_€ \/`. `l>Q \/l l Ll

 

 

 

 

 

 

 

DEFENDANT’S INFCRMAIION NOTE! To list additional defendants, use thisformat on another sheet ofpaper.
Name of First Defendant: l/& Ol[\?’ €* l l S`\ (`E_i’Y`l 1513

Off`icial Position of Defendant (if relevant). C…Ol C\l \C 'l- "l_l/l€) 0 m l`l`€(l S`l_§'§"l'(°€~`>
Address of Defendant: l_ 3?$ D€_\l @\r”`t `D\('\l} _OC.l/j/ C/~._¢s _l,'z"Y`: l\\ l Ll lO lCl _

 

 

Name of Second Defendant: l?) C bl()\l l/'\l ‘(` \/(’)O (Lv\r‘ld GSS DC,\ O` "l`C&
Ofiicial Position of Defendant (if relev nt): l CYY\ 9 l (`7 \l P F) O'; `l"lf)O l) fl \:‘l:€_Cl % 'l`(`i `l`€§`)
Addre sofDefendant al l\/l €- \% ‘”\/1 , l\}GLlYWO\ l:)&!l‘l‘l F l l\l\ll l["li§.;)_(@

Y`ic_l( /l\/i'l`©\/J\Ol\\_/LO\€(` l& a,n G&SGC\Q§©

l
Name of Third Defendant S‘\_‘F€Cl 01 (`1 WQ RDYWZCl l %'l`(l_\’)'d@ § (l$ §OC\\O~. 65
Official Position ofDefendant (if r levant): d'"l"(’/&)J_l_ Chl L_X l/h "llf`[)… l\l `\[ _l`[,‘ Fl lOY`l Cl§;___,
Address of Defendant 6 @€. CP (LYlO tim Ql(:>\l' C/~,l Q"‘l_ Ui& ,.,lb g TCLC’,‘D l_%€,ll>

\/\l@icinw\$%l l“hl:C/ \t\lrg_ll’t)`&),\/"l_ l\/lc,ll>_€` nnl(`l& .E>liiae>{ H§\m Dulol\o
& ¢_ h ____¢_____________________________i__ _____ -_|_.__\l <_`(.\n\C)

 

 

 
  

4. PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT
A. Have you begun any other lawsuits in state or federal court dealing with the same facts involved in this action?

Yes [ No_____

If Yes, complete the next section. NOTE: If you have brought more than one lawsuit dealing with the same facts as this
action, use this format to describe the other action(s) on another sheet of paper

l. Name(s) of the § ies to this other lawsuit:

P,aintiff(s): OlOlO\l l}\l l\\l (__lfl`_ l__,l‘-= ‘-=Q ._Og&€l;] l_ l l\’j_,;e,_. ____

d)\Sci _l\/lOt`Ge’l) Dl lCiii/rl`ig§r':;l`\_c <; era l_(".l€ilj 1/)’)\°\

 

 

CaSe 6:18-cV-06789-C.]S Document 1 Filed 11/01/18 Page 3 of 21

Defend 1a l?Dol@lQ 1 l/i\r\zm ethel jwozell551/zimoi:aj.j_0
acl€,l`al C OL_\ (Y)\% lwzlSa,l\/lof%rclalall(lCL_i`l‘l“”;ch?C§/>/b

2. Court if federal court, ,nan:;the district; if state {:ourt, name the county); h (` l Cq'l`€_l/`

ci Q@…(~ 13" emma 11,,¢@,@1~ \1\@¢:§1@@11315111
Docket orllndex Number: l_:~` l"_ 0 0 § chCl-` l lp QjZ: @"CV LQF( C‘ fQ l\`@/
Name of Judge to whom case was assigned: l"l() n (') TGLl/»l/F l CCL 1’]’1®\0€ lll ll_ l q CC/Lil(*'l‘*

The approximate date the action was filed: 62 D l lD 3 § Hl<g l ) ¢..\ Apl?{€ 3 .
) O€C@'?d Circtu

 

 

 

 

 

 

 

.O~.U~.J>.<»

What was the disposition of the case?

Is it still pending? Yes_; NOL
If not, give the approximate date it was resolved. C CO \`
Disposition (check those statements which apply):
Dismissed (check the statement which indicates why it was dismissed):

By court sua sponte as frivolous, malicious or for failing to state a claim
upon which relief can be granted;

By court for failure to prosecute, pay filing fee or otherwise respond to a
court order;

By court due to your voluntary withdrawal of claim;

 

Judgment upon motion or after trial entered for

4 plaintiff
defendant

 

5. STATEMENT OF CLAIM

Please note that it is not enough to just list the ground(s) for your action, You must include a statement of the facts which
you believe support each of your claims. In other words, just tell the story of what happened and do not use legal jargon.

Fed. R. Civ. P. 8(a) states that a pleading must contain "a short and plain statement of the claim showing that the pleader 1s
entitled to relief. " "The function of pleadings under the F ederal Rules is to give fair notice of the claim asserted F a1r notice
is that which will enable the adverse party to answer and prepare for trial, allow the application of res judicata, and identify
the nature of the case so it may be assigned the proper form of trial. " Simmons v. Abruzzo, 49 F. 3d 83, 86 (Zd Cir. 1995).

Fed.R.Civ.P.10(b) states that “[a]ll averments of claim. shall be made m numbered paragraphs, the contents of each of
which shall be limited as far a practicable to a single set of circumstances ”

 

A. FIRST CLAIM: On (date of the incident) l <6\:\:\050-,\|] D`\Q (>C/"l`C)\/Y,l(7 .QD l% CLY']Cl lBlUL Ulq C;lolg
(
defendant (give the name and (ifrelevant) the position held ofe ach defendant involved in this incident) L;' “£ C _l l
gl&ml)°s ll rilciii;;u ll\1 re tn-l-F rfp/l lamar l\/lt>t‘§c: 3 W» l_r§l va ¢~;
ervin lrs .Q»l@~il l ljl lai ali ll § none 1a Li";- o rlA asmein gel

li>l~l'l'l l% C`/\l lorl"l'l lbol:)loy_,)l"tlf\/UU mmle<l\llc\_.l)..$i©,$o

 

 

CaSe 6:18-CV-06789-C.]S Document 1 Filed 11/01/18 Page 4 of 21

mae 1 100¢\”`“)

did the following nf£o me (brz'ejly state what each defendant named above did). {"\ €,`C@Y\C` 173 _1' i 1 CL_,\ 5 O
6611/))667

06.1 10'11\1’0<¢\ 1001”16110.,1 01/11&1.1>;0611\1 1 101 1511161110-1~51018
03166~01 mai-661 61;1/16:1'”‘.%/\1 amesowwwl“s 1613 mary

91&{'1-1€) 6`1*1` FFF‘»1F1€FV`€_)1OCCC1€A 1391 DP\’€')Y)
§§:O‘§;§CWLL

106\€11~€) 461/162 111'11611131:1 131/116>1016\@. 061£11 610er
131621_61~1_~{`1:; 161>1&61 1\/101”50)161€66 \16, 10 0616 601ch 1`6,6;6.1`

0 650;1>@1'6@@1~1/\1 111 611-1@11#11"1\/1`@6,11 .<; 0 s 1101/11
1)\/\1“1“\€611\ §"'1`/11'19§ D18`1F1C`1_"[`n111’"1' 11..8 19 § €~1”1’11910\|€?§ CO};)H_€[L’¢}

The federal basis for this claim 1_s: 1`@ 1{1 (1)01/~11 3 LD1 1’1()1 1€.&§`;> 1 O.)’]Cj +b

T§ 16116.>1"£,€.)1)111&1.101/1'1*'10 1311,;(`,0~:1;§ 16151
1910

\§tate§§rieflyc e: 1§ what yo;ii_ wan\t 1913:;\;:?{0'®

 

 

 

 

 

 

 

 

 

 

 

 

110 fdr yzu. Make no legal arguments a clite no cases or statutes:

-C1C11,1YY10<.11"C'1S» 566/1/\11/161 1(`6,~1 16 "1)¥`01’111 1l1_’1_1'115"121€)
§'€’1“ :631>1%'111®'1'@<>111~1- Ct,r\c> U.LS `15‘)/1_/~1`<:;161_/:1‘1`0 6606;11“1\/

011¢>\110166¢6,61 111611u;@;§;§110xT1-10 U 3 C;¢s 11&£_:1»\/}

B. SECOND CLAIM: On (date oftheincident) Om QOi 1/1€? 311 HC€_) 1\/1@_.`\1' 3 0 1 (0

defendant (give the name and (ifrelevant) position held oj%ch deféndant involved in this in idenA :E@
§161._11”1{1€-' 1616.“1\.’€..`110 i@'v). L,\m1 16`111;11111\/ `1`1"016.' 11”10`1 § 6116111 ‘11~1~
Dd’l 61*11611`1_/\01_€136),1/1(`163»161`1%.) CL1”1€1 O`1'1’1é1/` F€CL 3 EOY` 1301010

did the following to me (briejly1 state what ea h defendantn med above did): 131 0 1 0"'1 `;”(1'_ .<) 141 N

cmi-10er 0161613~161.61\ \_…a e.\/1c6:3061»1611“61r-11`\16&’

P\OLCC, (`) (`C%\\…’_F) h&@`é,CLH/‘l€'l"flb O;,k”lC>\ CILl 161 10 C1€.\1'1C.C"S

111/11011\1`~\111\1 D\CLC€€ 10\1 P\Lm 7~6111 81 61193 91 161,11”1'11:1~¥ 13
V@cfucejm/\r] 11/16»11) § 13 (1, ~'_rc;» 001/gc 1161 061/1 clue C‘.Onfm"nm
o1qz@11 §1%1161610. 061:161 1`6161~11` 1160 vea

1100 1311/161611.£<1$ C€?UO
561\61$) 1`61/110'1'@<>1§\/ 163%1061/1 1116:_3 0600011\/~16»>&¥<;1 116)€101'11’1 ez: 010

61 vtlas..g'.me¢q j 1611 o;_ 1 fbbl¥:)
x% vi a\te nl la tii;]d*/hat)h° 931'1*111€ 03}§0 do for you. Make no legal argu ts and cite no cases or statutes: l
Q\CL\ 01£1 C1C111061m:-@

011 13866:1-1!\11/\0‘€€11@‘1:1`01?11.),§..¥,@¢»
061/161 11.S 1\’161,1§1/161 ~16161101%31\1 111¢~1)6110

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

         

The federal basis for this cla_im 1s:}L/1 n

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

»-U S=C.c,\ ,e.& ama
610 0 c 1 3 61 1 r> 131/1651
@1\&$31`€¥116\’\€£3 X C U CLSSOCI -1( § [egi 0_1’[`
rng du have @addltlo_nal claims, \Lse.£he a ove format to set them out on addi_tio al r\_l
O</YW

   
 
   
  

  

 

    

1/\11'.`\( 11"06€, .
61.61€ j;mg)'\® 0011&§ 9111?1 16» 061131“1\!61, 63 1011$1 ne 10 11661"1~6035
611/1 \‘M; C YY\1Y1C>W C1/1\\c1¥€;1'5"1, 4 S;£" jw?f( CO\G “1-161\”1,1 162(~1-

mesa/300 10019\111<@11@1&1111>~ wl 6@\¢1,~11163 0><1\1'116%

 

CaSe 6:18-CV-06789-C.]S Document 1 Filed 11/01/18 Page 5 of 21

6. SUMMARY OF RELIEF SOUGHT

Sum arize the relief req ested by you in each statement of claim above.
D 1&11\‘¥1¥'(7`~€.011”1'1£11/1 1.11<-31? MO‘§“SC)&)OA 11111’101<11¢:&.1'{:11&173[\
011`¢,\/15111141/115 01 R@nz.<»\\ S>Jmm©&- and <‘1-1141»::@+ 0@1001‘:5

1111@1¢§@1“1` m 1 ;11+1'1 C,@mm€@<€,_e}* 0 513-31<=,~1 1301/1%11 11`\1@0
0161\?<711"3>'~9111_`.€31% Den@@mdcu”)-\r 1\°.> alan QSS@@Q/ J\`ci , 1/1>1`1%

paé;gc>p; An1g111@ N&»Di©f who 11ab 1111”14:01/13@0`1€.¢1 Li§ay

Do you Want a jury trial? Yes No

 

 

 

 

 

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 3©`+% d&_\[ O"DF GC`1`O\OC(` Q@ 13

(date) /

NOTE: Each plazntijj" must sign this complaint and must also sign all subsequent papers f led with the Court

Au+oa 1“1<111:>1 B\:; L1)7\1/\/312>" °XMPZMY@

 

 

Signamre(s) of Plainciff(s)r- C,\oq maas/14-

:DSLLFCUCO©0\1C C\¢L§m§ concavm"m P1@1n511`1:1sz
m11/10V \01`010 1an 01 @n$a,\/)'\s 13101`€>1/) 1& UVMOCUY‘&Y?

131 0;105¢11€§: ncaa aa@{&jmmc»@¥vom U,%1D1C,1
‘\T<>\ \CKOCLC¢,C» P&;\W\`C,\&/\W~¥Om\`@ \\ 1`@\/"6 Q\CLCL€, O‘Q’
\1\@§1€106$€>@164;1€3 w1‘1'\/) 3001&1 Secu;frw
A<>\YY)\V\1S'1’FC::1:1 01/1,} SM\CS 1,11`13,.

Aujn>j ra,\f)\n 151 l \/1 Coaakm§Y"Y\W/ijm~?/WWE

 

CaSe 6:18-CV-06789-C.]S Document 1 Filed 11/01/18 Page 6 of 21

E><…m@ A
k S*\`Q\@\ D@(;LLWWCY¥`¥S CLS`>§®C§CL§'€Q]
wi‘lv\q- §%-C\/'~\@”T"W

?>O`…A@j 0~@ @§O\ch ¢Q() ]§§

 

V
Case 6:18-CV-06789-C.JS \/`Db©v@nen§ 1 \Ejie¥d§dO>l/l$ Page 7 of 21

9 © \?>@)< 01 :QC>;P>#\_
?WQ\~@,&J@¢… \/~MQC\Q\,

\LPHWA@\ gsr Colvo\oc<`<§@\<C/>

 

'\\‘/\&`\v hocw€jm§vJv\/v~ Ck\<:) ar}v`\€>
U vw xiv@c§ glvc@vc:€> DT\S§WIL*' C`,@Lwl<-‘

’\c>© S%O§¢@ SM@A*

%<>\/\ wasn Nj … W

PLE';`TD>© C"\ \:\l\ C\CQ v\n&'*' \\/\O\\a>e,.\/ ::\®\A \pew 363&,\\&/
\\/\@'PS@ '\J \?30\0\071 ¢\‘\/5/;/3

D€C\f W\CQF\ \r\)©c,w€/Y\Suj<'\/w'~&l@ CL£A*§\S

P\ c§… wc¥" C,\O§\W)C<,Y\l§ \»\)`\%OQW\O\@S© \f)ex~e_§ m Su\c>~m‘{‘\‘
1100 C/\c¢\ m3 3m \,<>e \1>'¢@@@&&@¢§. P\C¢mjv£ -~C`/\mmcmlv 53
C\\S© ‘ \” CCX\XC&`\"\. \,'j \{\€,\F l{'°'L@Q, C,C>§>;\C% \»OC `\`WY\€/ S'§`GL¥YW 675/35
`<`<c,e\\!@c§\ \@ U¢ 1 DSC.>., \)\\e-S§V@~Fn \>x`sjrr“ia¥N-c@\/b~<`\/\;CUC£
(`CATU‘FD€C§ A` D\Oum¥\»i`;~§l“&\€¢\ma“n`\_\j\@b\)q\lv¢gl 33ch €.E>
POS'\~Q,\ Sc;v\,/{C,@ L<"'/"I"`\<L\I>&QA \S S“\‘c@m‘€g¢l @»T\\!C\{>Fe)\e
\;\€SP@Q$V£@\ \'\] g Q\Om;l€l\`acl
\J…WW XW wm
/5¥\»&~`¢03'<\@,§>% @7‘; %\/\)`i Sc@\\/\©\NS~©

;:C:: ;;\D¥:OSBS OLX\'> `\ n \L>\ q 9 "`\ Y\\C \aj@@\ 63 CU\c; glm;m\€§ 0 n ~\'V\@, \zac)£

\¢\)ibcb\\/\DK`S@/j® C©\?=\CS C~`€c'…'\©\€dk&,m§ W\f\\'§re, C,©V‘§C®

 

 

1 , ..1. . ..H_H.W:J»
050101,01@1 15 Cw@@ 101>10?.1.H/»P1€1.1»1> 0@50<,,1€®\00§@1,<§%1.103 ,. 11..1111m1111.

,®j/~ .........................................
F1011ym@w£10§1.1.¢.m®1 10 am\1/\101,10 ............... 1.11,11…111…@1»1@1…11..»-,\…,.`,,_.@--0,11 »1. 10
9 5 1€+13 010\/\0 O.A. 00112010 @1) OUOSW &$U\FD\ 1119 §M%nm%mwz §
105 11<0~1@.11 :~»\O U1U11,1m\¢1¢ 00 cr<)r| /1/1%0,®+ WM@@%@M@@
W,Jq 1w11»1>1 G¢T Z 01»01\0 0\1»@€ §0“11 ..1\5®./1;~.\.1.1, 1051 11,\\.1.1\@% 111§\§® 1&%%%@§ 93 §
9

&1€£§: +M/+@ ®10:01®1 ca1 /\1

vw§.$ w ...... 111.11.1…1 iiiiiii 1……1_.11…11.

316001/11.100<5

D\../ 332 131 011 012 vi nw
872 o<wm\<@ F010101 5®5©1»1@»119\0:1 1"1.1,2-2%@ 1

 

22
1121
M 11110»\<5 1 M\ A\/ / _lm~,@m m:<&ovm
m \ 011\(/\1 MYMMMW~ 111< 1120
1./
11/\10,~@.<\» /1 mo \1WO101011)11)<1,\15 111@1@§. 0 5 w mo 00
m 101 Y:_1113111®11§1%23
"\|l. C_..m m<
F /cOC OCESD 5\.10&:|.]011.©®5@ 11_~11_1,12 n11.11mm 1 §.S
m
11 m 19§1®0\0~\1»Mrmwmwum:<w1qu
t 211an o
any ij\ my§§§©:mv \.|. @01010/\1)11><@ 111111">1.11 1111 §§
m RMW\.H h Mme.m£. @Qrw 1@.. .S 811 1
m,:._=m.nm w 1<®5< Q.HO
MMW 60 7>0.1,105 1110 1100 § 23\ 1111 1…11§§1,.1< 111\1@\~111@1 § 3
D m< ,.
Q.\£ 40®01)1,@ O 33 133 m:<
101 51§1/\.1 01)@0\< EOE 10@5 9 6911@@§.3

Amoo_l_memz z< 1135
1133 mmdi
Amxumo$o_ 103 1<@_>< omdi

1<10,1~0@/1 10/yo10101>1@K 01
@ 11113§11.11< 111\:\§0
WK §§ 11@011:1@ 111

Q|A.\COO DO.Q/@/ D\1 13+@ >1\1..1110@1)0¢ 1\/…W/`\§1W\
071\1@$®1.1,1@€ 140 Q 1

133 gm §1 §§ 35 ,_..1111
w 1110 §_,111,1..1§ Y. 1111 1 11 111 § 1111
_ U .HO 1.30 1.1 w
w 05000<51@1011<1.1) 1> F@1L101®1> 01>@ 2113§1, 1 33
6.

 

@Nr@bl 19 y .\ miva 1132 1 1 360
224 10231§.@8
3050 003101?1,11\1.1~9\, 1w1y1019\ 11111><05 ..

 

1 11 1 §§
l:V.,/J ®,X13111011f@ \f1®10\ 111 /1| cM_QWH ova wma_;n_a QE. mm
911 1011d 11011+01_1§1..§111111111,§%@§111111 01%§§ 11111.11111111111111111111111
:W 1162@1$ :111 1116 1111§1…,1§§1@10111§1@1…1@. 1111111111_1;_1111
c, ;Xo\ <\ 900001,19 110 101051 §§ 111§§ 11 3~@@@
W&,: 1201 §11§ 31§1§11§50@@1§@ 11111111111111_11_1111
,. ¢m\§/» oyom §Q§€WA, 0 1010®11m 1101,10®0\1‘©®0.1@05 M»WU%WY§§§ 2113
<Id@§ 101/dr %Y § 1

:JJ.’_.:).>“ .n.. .).L 444444

 

CaSe 6:18-CV-06789-C.]S Document 1 Filed 11/01/18 Page 9 of 21

E><\…' blr P>
D@<:wm@n§vz Jr\m;\~ 311\;»@@(35“

1111 1a §-';;@§ \YMUM@+

z@H» 3 Cj 11 @@<§@\@@w ;L@\&

 

PROGRESS|VE Cl.AlMS
3 DAKOTA DRlVE

SUlTE 200

ease 6:18--cv 06739- cas Documem 1 Filed 11/01/13 WMZ,j-I/y[@

NORTH NEW HYDE PARK NY 11042

504374 3483 l AB 0.408 CLTRSOlC 016 003483 Und€l'W|'iftel'l By:

l_lSA Y lVlORSE
PO BOX 92034

Progressive Casua|ty Insurance
Company
Claim Number: XX-XXXXXXX
l.oss Date: l\/larch 12, 2018
Document Date; April 20, 2018
Page 1 0f1

ROCHESTER, NY 14692

claims.progressive.com
Track the status and details of your claim,
e-mail your representative or report a
new claim.

important information about your claim

I've been unable to reach you about an incident that happened on ll/larch 12, 2018 l’ rn here to help, so please contact
me Within 10 days ii you' re interested rn pursuing this claim li| don’ t hear from you Within this timelrame, l' ll assume
you don’ t plan to pursue a claim and vvill close my file.

Thank you,

MAX|NE H|LA|RE
Claims Department

1 516 502 1654 e)
1-800-PROGRESS|VE (1-800-776-4737) 03wa
Fax: 1-516-352-1842 l

rormzsr/xx(r mann y U,>(S \\L\'§%\(\@)% ’
‘ § U\<;\o\\\W

 

C\`/`

ACClDENT |NFORNlATlON EXCHANGE FORM

©bbc§(§<ens-cv-oe?sQ-CJS Documem1 Filed11/01/13 Page 11 or 21
¢»Q/LSJ/‘\

NY State Law requires that any accident resulting in a fatality, injury or damage to property of any person (including damage to your vehrc|e) or entity over
$1000 be reported by YOU to the Department of l\/|otor Vehicles (Dl\/|V) within 10 days after an accident. Fai|ure to report an accident or failure to give correct
information is a misdemeanor and may result in the suspension/revocation of your driver's license (or operating privi|edge in NYS) and all vehicle certifications
or registrations

Report your Accident to DlV|V on DMV form lV|V-104 (Report of Motor Vehicle Accident)_ Po|ice Accident Reports (DlVlV form MV-104A) DO NOT
satisfy YOUR civilian reporting requirement

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Accident Report # Local Codes Date Time # of Veh. Town, City, Road Name

F}\`EG¢lBBSl-lSNl_ 18-026757 10I15/2018 6 26 F’lVl 2 GATES, TOWN OF - 2853 CHl|_| A\/E

Po|ice Agency Officer’s Name/Badge lD#

GATES TOWN PO|_*CE DEDT - 02753 vENTRELLA Nch 0905
VEH|CLE # 001

Operator's Name Date of Birth Address

FOX LATRiSHA R 01/07/1970 2550 ClTRUS TOvaR BLVD

City/StatelZip lV|otorist l.D.# Vehicle Year and Make License Plate # and State

CLERMONT FL 34711-6842 F200536705070 2012 l\llSS BBUJ39 Fl_

Vehicle Type insurance Code and Company Vehicle Owner

4DSD 100 ~ GE'CO lNDEl\/lr\llTY COMPANV FOX LATR\SHA

Vehicle Towed By Vehicle Towed To

 

 

Miscellaneous Notes

 

 

VEH|CLE # 002

 

 

 

 

 

 

 

 

 

 

 

 

Operator's Name Date of Birth Address

rviORSE l_lSA ‘/ 11/26/1 966 PO BOX 92034

City/StateIZip lVlotorist l.D.# Vehicle Vear and lVlake License Plate # and State
ROCHESTER l\rY 14692 622776190 2006 TOYT GWVV4745 NY
Vehicle Type insurance Code and Company Vehicle Owner

4DSD 413 ~ PROGRESSNE CSTl_Y lNS CO |l/IORSE L'SA

Vehicle Towed By Vehicle Towed To

 

 

 

 

 

Miscellaneous Notes

 

 

Please wait 14 days before contacting Dl\/lV to request a copy of your accident report.

lf you want to purchase a copy of the police accident report, form MV-104A,
complete DlV|V‘s "REQUEST FOR COPY OF ACC|DENT REPORT" form nav-1980 and send it to Dl\/lV.

The form and instructions are available at www.dmv.ny.gov or at your local Dl\/lV office

THE FORM MV-104A l\/|AY ALSO BE PURCHASED BY CONTACT|NG THE |NVEST|GATlNG POLlCE AGENCY.

GATES TOWN PD.\ 1605 BUFFALO RD,, ROCHESTER, NY14624
To obtain a blank civilian Accident Report (Form lVlV-104),
visit the Dl\/lV office nearest you
or
access forms online at www.dmv.ny.gov

 

CaSe 6:18-Cv-06789-C.]S Document 1 Fr|ed 11/01/18 Page 12 of 21 P&z© 000

P\§QlflcS\YE/V]NY lL`lloClQ\_)

.:Ql$l clou\j Oyr Se{Fl*€/rnlce,r" cSl_O l?s

n Nesu.`,l\ or_l/\, C,Om loduriclv\/ -@L,t:>r\c.-C~C)lzot)l
l5 05 c_t,ddrcl Rg>d.<:l

_. . \`Alil€ltla;lltath>utv$ _
_ \, aaa alth Rer-izstttan@uarey» ciremi@a_l`us@

. tC£l Cl._m)s_rmm~ju$ Pulo_l.l('.um PY..`.l\tO:l.'Oi”L/i m Q&Cl`l§
_ _ __l(r\_utlmu,t“i imQrm Po‘l_ri@.`l__ t

h lr\)`tsd,l./l orsc)

 

-+

 

 

h-

 

 

i}De_ocf Ne;o=.`»" oral/gucci rt loo_ur)c:lr“ . _Ou>cnexe CRO _

, patton ) loiscal\/\cvse,)l\allein aclf)mocu€e.cljc:)
and §§m;lc) ¥or iran Pc.cc-»Pcl- r`c..c;c_>r"cldrl -c>tjcr‘e,me&
.r.lr\ocreln ertcmflcdl u_se,:> loy '\}our‘ _ lwncl'r‘orriodl‘ __
.rr.CI;'Fl`€/rwcl@.,ra_\i_~ @rrw§?\ C>\’E,€) 00 SC>+h daly erl- Se§\r€_mlocf
. ,3\ 0 `\%.a _

 

00 91@%\0@\0:1 C>“l &epdkicnn\©cj,£` £©lB)Pcclrord)
.w.\ro.`\ect. l\/\cnsel) Cuncl vn`mcr‘ lol<:>.lo ic@l-ol cri o .

v aubch Cdtwcecjtec§ lr:>\i c,><rl_ln<:rrr€) lwctf.$li C-,\r\€~'rrf\ C.Cel.§

- rt)&e) lO\f \j GKM lOcurtcdr`c>i/rl<?d'€cl-il`cnclo)nl-Cmt>\t>\i<:©,

__n_ -
_\_ 1.-

 

 

 

_ L\U_\`USCO_P\q /\?>\}: " ’ 411

- 111£(:116210\ D11’\611162 _ : ~

CaSe 6:18-0\/- 06789- C.]S Document 1 Filed 11/01/18 Page 131/51 21

10562160<:>
P&11`©r1 1\>16%661\/1<216062 061/6661 11/1621€1660611’0…6;1‘

_ 4631:1`1'6106;1620/111 6211/1910 _6262162 6_62011%,62 11/1162 U_ 621

1621 62261\66111162 11626¥?$1/`\1_62163_61m_162661§_62162@1116:>_61_16_$

1116 666\@\166…6111 010 mma 16 616 ic1211

1616§>6166162.11% 1_:011__101010 Podrrc>r)_ 10216661\/15;§62§ _
166 063 6600111616 0611301/_1 01166661/11 11 111/162

11111/1@2 01:1:1162\.016.161:2161011@_10110 _
_1\01\110; 666 \1621“6>1/16@61_ 62<16162101111621_____

1011_1@@1 omc/16 611606160116>¥662111§)562__

401 62>6111\6616162 13061”&161 613 661/11616615

_ _11162 1661<:1<-:1_1@1 621 6><16611061612_1/1 066116116;06:61:

_ _61&62_ 626/um 1062 \/16_662661 611/2 6_06101616`6)611;> -
__\10_1:1¢\2 610`1_10 _1\26;6660611‘_ 66611162662_1106>1€6 626>.6111__ l
__ &61`1116166&}\_01 366>1620110 &62_1 1K 1161111162\%<1\1616)~
__ 611 3101626106 1\1.’\>1_10 11061_6&..No1cizec160\@ 1011

106 \m 61\1102\11111 S1o16epoe1c61§6\6\11662,
65631:11 j 3010100\ ___ __ _ ____

   

 

 

 

Case 6:18-cV-06789-C.]S1\526)31MM §,1`+@&9/01/18 Page 14 of 21
v 1101 130>( C1 §0672/"1
R001’16é’161”\ N)/ 111 1,1>€1@2

15111061 631 0610106:6 @?O1CS

1\/16616`\ 1006260610 6111\))1>16681016101 11111¥¥6§>):`160`1`1:6627;€2®)§

C21161`1 D11001 ‘¢;.‘1?~ U 1166£1$1%»
\1\1 66j66 m § 1\&-\~¥\ \\:A_ \\\ ew‘\¥§::>@(` 1 62“1~ C2 1061 1"1"

100110610 N€M>\!OYM 113ng
911:~:1\1\300\/101\3@ \/ %01013'7 1111`\/6)0~ 11§~ C;\/~ 1510§:1&2101`@6>11`110610

 

\\ 611116106\11“1' @1.1_60110/:

\/1 62©&,6‘211215'-10110<1621\/\01°§@660<1 …\1001”` 101010 1601 00 ‘1
61616210 13>01016Y 1011`\f61f1 GLD61 &5306210;16&~ 31<“@@;1~36003 AAEC am

§@U`\ 1\/1€61`§ 1\20626060&6111/\§1)1`6&1¢1@0`1“erm )E{co111`6 CO><)1
066¥1”1)1(16 62)@6105112111:66181061€$©16>11\1¢§1` DU(~1_

9661166 1111/16 111>111166 12 1011-1 6111§11611~)

1111&062 1\/10 666*2)10 6661 111:16100 0\22\

00 61 0
01111@2(‘,%12“ wmc C\` 166
%1&1@5 DUDC:AM \;L:;Zn P:\OU)HO:>@D OU;:SL}L)D1“661616Y11 011-1-1/1@ U…M

\ QEUNCV€J) 1: 1 0
:;1:13::©€:>66:21 1:_166€`2€1`1"\\(6)>€21/16%1310©1“1:©)1:>1:£1:11:`:]&::1:)
613 655 0 5166162106 62 666621“61 01010 \1/111`\(62;) 06 C1
n

QB%CC21C 1
6 5;,>-- 316(:@:\"`1306(13 06162 C,C>…m\‘1`1"j 1116611£1 1OL)1S C\.C;1`5

 

190636 00 62

30101>4€%101114@%411<041@1>@0101141 1111/10111001&§1§1,121;@4
0911114 911417 94 4001114144 C401mm4 1000004¢:”14~ 01:`43; _\~
41001\@@§0<:4 40 40:>43\\@7/ 4/41M0/1’3 0000010:4~<1_0- 34 00

C:SC\.XW: 434&_4 (4“\1_\`44'4: C»\C\.\.…C£,YT4`@ CuU`4`OfY')D404 4€) 4(7&\/©
4000 j 040\/1003 104/1`\040 D0041*1”04K,Av440v1\0 NCL§) 1¢>\"
050104004 if474115 04 1054 §§cu:w§> 110 0004Y1vw <40\/1"0@ 40

0400\1140)0'4' 0 000'44>111©\0 41`\04/\J 1404@…34\0,01`0(`
40 100\0401 Vw\@\vw 0 000<><;1545 md 041~@@43&1/13
100…4'001’
%0\0\0 4%1\1\100 000 000001 040§-341`0043 1117 WQO::§‘L(`O
P\a.vwv\`m 1\”1€041010…0 004`0 0 010&4 P€@401F-'4: 11114`

440v4v\74m 440:§:05\ 434 40011444~ C»401v1w0v14`. 4013@54\/401`00

&nc\ vvw1v10v‘ 4@1`@ 15&404 000400`40 407 11004101 0004

\A%…j 4>40\1vw41 44 00111100\0:3 401”044'1015` 4\/\0§4(&,4 440 011/41
9400041434'0 4010447100 31144040 4001/11 11100400444 4411500-

0>141`0…0) d5PF533\OW 001/404\04?113©0,14€4 00400>4004 &bu&@

`_4_440 341`0€.1`4" 48 SL) P}\O \N 441?11@4\`4:4`“-(140».\1110€01/1`4`3
401`1>44001/`)4\/ 43 OJ`K`KOC

03<114)0)144/1 0\040043 0¢0041, 1`10¢1‘.0`11’1023

V1 91)60004\64<4041`4`40v40,4 …111044401”10 511/133 01104 004004004
4410 341“004 j&vvj 60004 gab-407 4/4111`\/ CQ&F0 111$`\03 434£10\11414“4:$
41>1“0'4'4101`3 111101’74¢544\ 44@@5{>`4`(> COY`Om`\`4`4`*4`4110&`>0) mG_41 1140114§

0043 00 1130 4010 11101140544411000 011 000 CL41404 40 C@mm14
474/15 vv\@4101c>u1& 6104`$ 4400111€`>04

)

\(€,S»

m 304 04 1><~11-@1)@1~ gm \@-~1‘1`~11‘11>11

©%@.1@@

 

§ \C,§ né@§@@@§l@l§v-®?(@@;@§e/QOQUMWWW NQQFSGS@Y¥CN{\ ' _
'\:v”c>m S€,\Iccx”© ACQF@SS"\OU C’J\C`l Q\V`u\; finch CL¥CC>\”M?\ Ch€lCl\C‘/+\O\”\
Omc\ Hme/ bc§>wlrm€/Y\`k* O§F \”\um@“`° OG\C*~\ ‘S@'Y`,V"QQ/S
in N\vac>© C,c>¢mjv\/ flch c':\_\~es>‘¥ cwa ~\~c> P\”\Ci ("
O\OS€;Y‘\/Oc`&’\"cn in ~H\@ \/\[.E>.. p, pm mun Cemc,€fmmc d
MOJ \/\, HOSQM P>o\:)\@\ Vin`\/m &m<jj&$$@c{ogv<:§-SQ“@€¢+

cmj OJQ> CcmmHHn ' 'lf\rucs»@ maj`\c,iow& ac+@ c\\j@.{n$"§‘
god ry \NC€) %C:jcm> pk&…¥\'\f"£'m C\OJ`VYW&YU"\_) `N\"<SAQN\O{\S@
OJWC\ W\.»‘\\m©\’“ \0\0\03§6;&\ C§€/PCY)JQD‘&~S ~\Q<>r» H@Yw

\U€/€,
\-\O mg %;¥©IMWC@ P@\zc_- c\@;…>\~\k `\\q:,
  3. j __ 7
DCL\./\& ef'>"¥c;\r'c:,; final tw¥e»r:[:”\&uw@vmc© po\»`c\/‘Q\"G`Clu(@n`¥`
Q\C;,T\ m& C<>V\C€Y”ni n P`Czln“`”\¥'§:"(`,\@vim&n+`) 1\.§;3&,\\/{0'(“5<>,)
Cm@\ \0'&@\03§@&,\ D@§>cvwc\@m*`v&»

' M; w 2 “r`/»x wa § o mm gm aim ah P'\&< ~…L;M_

C\CU…QX)"`) &§)i%a,\\/\OPS@)'\()¢Y~

e§n ac\émow\ecl ~<) Sc'>mc;)
0§~ ~qu$© S+F<:¢~K'S<U:? meiw(@cf§; 3

\., P>@\@\@ \/w'}v\z<in 53 R¢ er§v¢& cmc§ CLSSO<>€GA'@S

3» P@lfv\'"a\&/¥ch>m"c NCLP&@Y`) D<QW`\`QMM`ONO NCL(E\`C"":>
v (`c\@ \\/65 md +he;w C\S\SOC\`G~:\~<S

3, \r\)\sc§_>…o<,‘§@/§Pc(a;jri ves) nci`§h&@@r»§ `\`\”)Q+ `F<:S{J@ C\,"F

CL. De\d©n RDQ`CL o

\<>-.~ \l\\i`nB/:>m© U' ,

C,-. ¥'\`\ \\€.Y\ gale S`tr`r`€zj`

\…w\@,

\%‘~<;\/~ LO'TOQ`J
l\Q\`\'\“ ACL\/ ©Q' DC,&¢O\O@Y` 520 lg F"`

= Cei€»*W@€»

 

A'"“\"\q&@ts§)@-Ol§-WC§XYSMCJS Documentl Filed 11/01/18 Page 17 of 21

Q,.» Y`CS§C\€’» 0;\'\/\1§ …¢\'mcm§c»_©cwi§ Pm§>©¢jv '- €S\“o`;\‘c)

399 "\>ov`\§ Dl@m&n, DONS Dv)w)cm‘$ r\<=_\cz_ 'v@j mci
~_3¢`\0€,'\\§‘ &SSC><>'\@;\_@§ , mci CLSS>@<:\`G;\“@S

3° \\q`\&ck_> V\o{*$@,:$ Y`C\cz;\”j v@S LO\/Wm fl€-C\Cl€~»"`f`» O»S“°>OCI`CC`F@
boin P>c)\a\o‘ \/’\ir”\/<;n cm£ Q§SOCKQ:¥€;>._ ss-\-r<),@i- w
Cmc§ C\A\/U§Ya_vic§ 3

_ch,\/\i n A@\fi€/@S bn ©‘Qj njv§¥waé adm mud \c ass?é'>j\~
\5@\@\0¥ \¢\'W w @m\ Qs§@@i@¥@;&s%v@@¥@@§%@
\naxms& P\<imlv{¥§'- 151-mel Mim>r~ Ac€en£wjr§ canal

C`Onjvckck‘ O'Hf)<d‘ gang memb@@¢z lin `Pub\£c> cm<§ PY“\'\!@:!F€)
Rue§ \'\@SS€S CUJC§L @U \\"C) C`J\Cl P`r`i\/@J”@ err’r{'\r\'@& ,

9 C n 5 G` @@”l\`€»l WCG~("\'\O C\l@»\u€ch©n cum
mCU(\\ PL,\\OC\`! Y`)j MC~LF K HL?SGJ\ ‘QO`(` ‘\'\q()/i(“ md \`Cl`
R@S<>@<H»L\ w w\»mw\_@<i»_

\/\ COC‘C'_\_U\S WI,W” M~h_‘;?*’ ;"'s

) `
A u~\~oj ¢Q§)`\n P>\/j, \r\>'\ Sc§_,M ons`g,‘-) 9 § okl n~\`( H;`~ C,-\ cu man`\*

fn on§)v\ z)~_: Pex§@nc;;

GU\S CLC§'YS¢

  
    
 
  
 

'\:;*h C`\ -` \@ `~
&j eis 0¢;¥@ ar &o\€§ \g.. (;v... m c>;;_d

©G`§S@ ‘E©uz {`

 

case 6:13-0\/-06 l QL’@;§§ C`Doém@ft‘®@?ied 11/01/13 Page 13 of 21
. ca ®;>>< 61 ac>€>‘~\
Q\Q chc®+cirz N\/ \‘"}i.cq;)w

QQNC}CLCW OWC OCA`c>\G@Y` Q(>\%

Uvs{-`r@g§ SUIth CMM~\` _@£- AXQP@Q,\§- geacncl C\'mu (+ :
WUY`S 003 MOJ’~S\QCL\ U. S‘ C;w P“%th-§>€) F
140 F@ le Sc\ucd‘©

NC"°"’ >/W\/\») N`>/ \®0©7 z

RE: MSCL. M€)'Gse)\/ %c>\>\o\` \/I\Y\\/€/h Q;@LQ\Q\ W‘O‘\/<m]§, C<‘_`>SOC'\(Q:¥@§
‘Q`G;\f©\“ Con~¥\”c;c;k~u§- WS~ V" LDFY GQ»)QGIS /

_ /Amcwc{<j@,\!<"jr Rj\©LTHZ-»\
M\ c>“\`{C€) O£“ /~\ PP@@\ “~j`ué P\vL\O\{C/LL…

_.r.. _..-;
.._. ¢
‘ ,_ -~f...
.....

\\)O<:,u>@n 'u~¥\\"',` CJ§;> &Cl§‘§§j
“ pLE/L\%EQTA %E\, N @T!C)EQ A p§)e/\ \cz,r\,"i§`- C\CL`\ YY)CJTjF
\r\)q'\%c;\\/\c>f`€€>) `f\ri¥"€§ V\ &C%Y`»Dw\€iclj@ Cbmc:! &C,C,€@`&` C §@FK&)
@*v j¥\ne> Cc>wrijv) Ccc¥\nc:\”§ ney D' 145ij \/\101'?"<»~ C~l;) CLQLF\`S
m§ \\/\CJ cf wo@@@:@m+\@ @Lx@wlv;§> :>Ug\;@ wivqu @§
'XV\PL/z§“lre,e~;§ ‘\:c> S>jfc;jv© '“`Y`C>'F `li"\”\© PCCC>Y`<§ Cd`: "~ `(`@CC>(‘C\ °j\'\/\O
1\:\3\5:;@@\ \ 1231 @Yh€:hlr \@ :HOY\MCJQ\@ 33 Fc\ ur§o,§\ &
O'cbz\e O\(w mo m€/T\¥ clqu §§ m>lz~¥c>\`\ow{n' cch P`\”OC¢S§`>
CLLG~’\§\A§ Pu\@\{<;um,j”\m cve;@ov@) \,:)&31 am Hf)e)

Decu" CGCH’Y€:'(`: Y]@ ®! \"\C<_j€dd \/\lOW`© CLYWCJ …GJ‘\/ C»@

/.\JCLBO C’W C)

 

”§`O§“@@§ .'~ =-' ‘,\’

w \@v\;; ' é:: d%§§€§:§:§:@§ KQYW§°QYQJ:YYY§§:§@

C,Ouf"¥ O`l\"’ /Q:§>F€Q\S §:OY` "f`\/)€) Secc>v\c§ C§ PC,L,§\`§‘,

A§€'§€@\\CU\:\§'WC\.&: UCL\W'!F) \n)j\§a~.\\/\DY`S_@)) §§ env\~\+l€'<l :$F©

C"§MO P.FM§S D_§ +§/)© \OVLO_..\, §,§S Pub\\cu… C§c§@?ub\§€cu
A\Q cw:§§@-‘ (`»\~c:§'“\& off ~H~§<:)C»ouv~‘v) MOJ`\/ \\)O@L§>OWSQ+W$) d
COWWVY`\C¢VTX\`§ COY`\"H`E’;§”\ CC>UC;@§”`Y`§§\”) C".\CL§ m \%~“Q\!* LOV_§O;ZCGS
a\% KOCL&€<§§ C>v\ i"§f> …€/'{`§"§", \\/\CJ`?/ rou>@n u`\”§”\_; §S §”30~§*
C§/ \i©@§\&ac:{ ‘\?>S\lf/\d<>\:j€~§$§\v‘ \m>w am \~§on@§“c§)@\@ AA§Y§§Q§S§§¢J§D§
:§UC§¢S@ CW\CB 5\/§0§§\<:§` \'”' PCL§V§ “@WOW) CO…W)@D`§SJ\~\O@;)\’ CL.YO
\OG»S€A OVX \r\§> \/Y)€/\"§'§'“@ FCAC\HL\ C\&/§ mib &\/\Du\,€§ \O€) %§§T>§§DC‘{J§€CI

\0\] guzle cm<:§ pam/§§ cn§'j»Th@F¢~@@v@ JF\/§e,'§-@;A_s> c.c>ncer"ninc

A()§>@,\\QM\~S dm m- §<§-<;\1-§@"§©_9\) cw@:) ‘§`“'\§“. §5@§@\0`\! ere.n\~
§§ Y\O$r +'\/§@J'r…@ c…<;§ <:¢>§‘§/“@<;¥ ~€><€/w`;§“@f` C>'§‘ \/\\§\\/§e\mema

D&\/§S' e§lrcqév@j AP§D<),\\;~…J§- wang §,Q§`<>f\‘?jw\\j €¥V\`@J“@Cx
‘Q`Y`Om P\MC_O`{§' Y`€/S§A_@Vd€€j k>\ \?>C>\O\:)\/ \Y`Ve_§/§ CL§@.;§
‘f`@?\(`é§€/V§'jvcg§f§ \j@) W\§ J§f/\n@§\ § C\/’§c@,§’\" “" @5<§/\§ \O\'\' A) fund
'P><:¥\o`\@v V§§Y`VU`§ § OL&SO_C§<:§_`\F€,S CL§`E/ \nQ,Y §`cL$é§mj A§)§Dé\\cm'§”
Cm¢\ mcf §'Q§§>§oj§c;@,§ Ac§)<;nc§cm`§& ‘- C><\nj`§€;§~§~ E>,
_P §§ /§3§; "W\ `\/§§~:, §~' w P§“§“§§§§P\ §\\ m §§ ;§W@§§@:§'

C."XCU' m@'"*"i":"§. \“\>§36@/\\/\¢>§‘3€)§ \f§@f‘@§§q §&> %€g€~\/\§m Y`c\ic£*
\DY Oj§>§)€@j\§‘m `§`O Uv\§"\`;c§ ginglch CL>L§§’~`§" ©'(§\`

§ ._ b , _ `§
\_§:OY`"\"\/w@ §e.€.©né C)\ (‘Clu\`\" (_me§ dam L§n%\€ p@<;§.j§§g§j©§m©/JT
1§9\§ :§"X\OY\O(‘;;L\@\.€) %`\§` L§B¢;§:»" \\Qj§,§r§" @`_*;~ 3)§ § m$>§§”`§c\_,j§:§§ §’§D§/`§
O%`§`\Fw§("" \(\C§<:\§C;j¥ g

0 ujjcs§§c> §c§\s§`- dc>€.$ §`§§>A\`r“@,§>§”&@/)`)Y`

<QQMCKC`LCL\/ c>‘p§ C C:!`rc>\c»e{ <>’)D§X

§5¢‘§\$

§§§»e,\/»~M>Q<>j§
`PQ§@§@O

 

/5: §§ P<L\ \CMJ§€@:CS\»@M§M€Q¥@`§"S §Dcéu`r€ef§v”jn Frreé:@_l§:¥é©/f§ CPQQ“§§§G"§¥@L§M 3 "~
\%~C'\/»- LMO$L c.`$~ Comg)\¢;` @ A@cumeml@ …u§~¥ \@¢»/U ~
~'\r@ § q ?€O<`jvjuc§je/W\e%“k_ "n©'jl' QUOlY`€/S ‘?'Pc> m Ci»m 0~\_\/1€/~(`
C\CL§ W%» ®u©lvf:& "Q\”`C>… CUWO”Y\/)@Y` C\O.i m 'H\@) sL/z¥“ihéc&\`€{`\'@\/}
§§ ha C\u<:-§“`\~\` 0ny O`M:L M>+ UQ_YMXH`@C{, UN{)¢@J 3 a:hi@
D§Sjvdc§r(`,©u\/"\F dl\/\\<"/§`\`~é\”\’d 'D§S’&Y`§C\’ N@LQ \/QFKJS`UO\S€)…&’J

\S \OCL§@<:\ 010 UOWW/W`\”.

, _Bc>\o\@j \/\Man§ Y\\Slv@v~n`w{'¥% wav@uc\.u\én`§* <'-\©C»Um@°l“%
'\S ‘\m ~€,)q\/N\O\‘\V C/, A §)€/\ \CE/`(`; "" C\Cz,\ '\’Y]O,\/T\'"{ S ¥` UC.S`}Y`H;):{
+C> SL)\\OVY\\’\" CLSSC>C( O;D\OY\Z@HS¥\`O<M P&)‘\Jj>h® pc§;`¢§@@;\r"
`\ 93 D§V on R@&<;$ )ROC}H€S&CY.\N®\{O¢\/\ \l,l@\‘j‘)®\§ FZ\, QX€;C@QA@»D+
m Q\cu m~ \<5-{;\/»- L@"?DQ_C) S~£cz,\zc>fc,omjrr`&r:\mé, /L\ Summon®
h?\\\ \0& SL.)l/,)vng`"§'\?;(;\ ‘X_® `\*\q@ Un§“¥cd S"Va.‘&<:s*>’®`i§v¥\`(<;l§”@©uf'\*
\h\@s~\”e_v~v\ D\Slvric:g‘ \\\cu> \!LWL» fla co'@j u>"\ \\ \0<9/ \ m e)<\/w§\@{jv`€,»

R<:;~:> Q@c:&¥m\ \\ 3 u\c> m\"li\i`;;:k)

\1/{ C.CC L,(é> ij/;W’A__ ,

AWXVC>S FCLXD\G Q>j; \URSCLMOVS¢:)) AQ§D€§\\M”\F~'

-:v\ §>¥"OQ@\` ad P@Y§ CWW;,

@\Q;mm¥

Ss Q“A é@@j ep'v OC/¥@\o@€ <;1©\<`5 \S§"`C"`/"" m 63 %6

fpng €/'BY`\/N`C€,>

 

1344 <R°"-°G/"> ease 6:13-cv-06739-0€$VH0MMER SHEEI|EL/Ol/la lia@ §vf 261 7 8 9 CXS

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCT[ONS ON NEXT PAGE OF THIS FORM.)

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

§
I. <a)_ PLAINTIFFS ~ ill Q,\ wva DEFENDANTS
\\/\ "’ \/\j'a>\ Q\ {\\%>Y C>
0 `(`SU ) '\ 1§ § > / €/ %\r\l Ob… `
(b) County of Residence of First Listed Plaintiff MQ(\YQ County of Residence of First Listed Defendant
(EXCEPTIN U.S. PlAINTIFF CASES) (lN U.S. PIAINT[FF CASES ONLY)
NOTE: IN LAND CONDEMNATION CG§ES, U__SE.T.HE I_.OCATION OF
THE TRACT OF LAND INVOL D_,. - ' ;._
(C) Attom€ys ( F irm Name. Address, and Telephone Number) Attomeys (1f K'WW")
§ . 1 73 - :` §`
,L:~m ®Y_\O mm a QDSFSW)A_» 1 i-
II. BASIS 0F JURISDICTION(l»an ~X" m one m only III. cITIzENSHIF 0F PRlNCIPAL PARTI§ES__{_HMM:.»X-- m One 301 for Pla.-,,,.',y
(For Diversity Cases Only) ' _ ;' -ana’ Ohte Boxfor Defendant)
Cl l U.S. Govemment 13 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Govemment Nat a Pan‘y) Citizen of 'I'his State CI 1 Cl 1 incorporated ar Principal Place D 4 Cl 4
of Business In This State
/2 U.S. Government Cl 4 Diversity Citizen of Another State Cl 2 Cl 2 Incorporated and Principal Place CI 5 Cl 5
Defendant ([ndicate Citizenship afParties in Item lII) of Business In Another State
Citizen or Subject of a Cl 3 Cl 3 Foreign Nation Cl 6 U 6
Fureign Counu'y
IV. NATURE OF SUIT;P:MM” "x" in chem way 3 €L€_-.~» 1331 0 '°` Click here for: Name ofsuir Code Descn' rion.-,.
l ¢m'_ mrs z _ .\ 11 _ . _
Cl 110 Insurance PERSONAL INJURY PERSONAL INJURY El 625 Drug Related Seizure 13 422 Appea128 USC 158 3 375 False Claims Act
13 120 Marine 13 310 Airplane 1‘_'| 365 Personal Injury - of Property 21 USC 881 C| 423 Withdra.wal Cl 376 Qui Tam (31 USC
D 130 Miller Act Cl 315 Airplaoe Product Product Liability 13 690 Ot.her 28 USC 157 3729(a))
CI 140 Negotiable instrument Liability Cl 367 Health Care/ Cl 400 State Reapportionment
CI 150 Recovery of Overpayment C| 320 Assault, Libel & Pharmaceutical |J 410 Antilrust
& Enforcement of Judgment Slander Personal Injury lj 820 Copyrights 13 430 Banks and Banking
13 151 Medicare Act Cl 330 Federal Employers’ Product Liability Cl 830 Patent Cl 450 Commerce
Cl 152 Recovery of Defaulted Liability Cl 368 Asbestos Personal Cl 835 Patent - Abbreviated Cl 460 Deportation
Student Loans Cl 340 Marine Injury Product New Drug Application Cl 470 Racketeer lnfluenced and
(Excludes Veterans) 13 345 Marine Product Liability 13 840 Trademark Cormpt Organizations .
13 153 Recovery of Overpayment Liability PERSONAL PROPERTY m ' ' 1 _ _ _ 13 480 COHSllmCr C\’€dit
of Veteran’s Benefits Cl 350 Motor Vehicle El 370 Other Fraud D 710 Fair Labor Standards 13 861 HIA (1395!"1) 13 490 Cable/Sat TV
Cl 160 Stockholders’ Suits Cl 355 Motor Vehicle CI 371 Truth in Lending Act D 862 Black Lung (923) |I] 850 Securities/Commodities/
CI 190 Other Contract Product Liability 13 380 Other Personal El 720 Labor/Management -J 863 DIWC/DIWW (405(g)) Exchange
El 195 Contract Product Liability Cl 360 Other Personal Propen‘.y Damage Relations |J 864 SSID Title XVI Cl 890 Other Statutory Actions
13 196 Franchise Injury Cl 385 Property Damage Cl 740 Railway Labor Act Cl 865 RSI (405(g)) aj 891 Agricultural Acts
13 362 Persooal Injury - Product Liability El 751 Family and Medical D 893 Environmental Matters
Med"lcal M slice Leave Act Cl 895 Freedom of Information
f f ns:aL:PM ff '_gml._ru'_d£@§ ' _U 0 790 other Labor litigation ' '@"g"_gg= max sm'rs"_ Act
C| 210 Land Condemnation 13 440 Other Civil Rights Habeas Corpus: Cl 791 Employee Retirement |:l 870 Taxes (U.S. Plaintiff D 896 Arbitrau`on
Cl 220 Foreclosure C| 441 Voting Cl 463 Alien Detainee Income Security Act or Defendant) CI 899 Administrative Procedure
Cl 230 Rent Lease & Ejectrnent Cl 442 Employment EI 510 Motions to Vacate Cl 871 [RS_Third Pa.rty Act/Review or Appeal of
CI 240 Torts to Land 13 443 Housing/ Sentence 26 USC 7609 Agency Decision
13 245 Tort Product Liability Accommodations Cl 530 General 13 950 Coosu'tutionality of
13 290 All Other Real Property Cl 445 Amer. w/Disabilities - El 535 Deach Penalty ' 'IION State Statutes
Employment Other: |J 462 Naturalizatioo Applicacion
C] 446 Amer. w/Disabilities - Cl 540 Mandamus & Other El 465 Other Immigration
Other Cl 550 Civil Rights Actions
C| 448 Education |1`| 555 Prison Condition
Cl 560 Civil Detaioee ~
Conditions of
Coniinement
V. ORIGIN (Place an “X" in one 301 only)
l Original_ El 2 Rernoved from Cl 3 Remanded from Cl 4 Reinstated or Cl 5 Transfen-ed from lj 6 Multid_istrict 13 8 Multid_istrict
Proceeding State Court Appellate Court Reopened Ano¢her DisU-ict thigatxon - L§itigatic_)n -
(specify) Transfer Direct File §§
--Cc)’ f

 

`ethe U.S.CivilSt ut nder_w `ch_ ouare filing onorc'e'u '§ ' 'n_al ram ¢s¢miessd:'re ' }'_ § , _ __ l‘§ '_"¢'D,
msu/mi- r> 1 U.S,Q .@ 341‘:1$'§ t,.S¢ r[- 3 1064~10.»>5 1316 _1

rief description of causes _ § ' .- / ' _ §_ ~» ' _
Ft\nzi j G n 31 81 .yl 154 I\-~h:r` §T)x‘e,\‘)€c.)w 1~444¢@1'111')1/1~¢

VII. REQUESTED IN 1‘_'| cHECK IF THIs is A CLAss ACTION' » DEMAND $ ) cHEC'K Yi§s only if dem=m ed in C<>mplainfr
coMPLAINT= UNDER RULEB, F_R.CV.P. AL,\C[ ¢ and 13 C@ t 00 wm »EMAND= dies amc

vIII. RELATED CASE(s) _ § _ . . ' -
IF ANY (S“‘”s"“”"”"”' JUDGE \-&DD' QCCAD`QEQ §§ mph§_,l 1 DOCKET NUMBER L § _1"!§ §QQ l i" |(¢
DATE , . ' SIGNATI_}RE OF ATTO NEY-OF RECORD 1 _§ _ '_ - /
SDHW<::\&N C)&' Coijrt.,\ ')€ x"r§)@\§ / Li-Ec,<jrc¢,i§)\w E>\§J:`Jf 1'1L 1885 jj<:~z<;~»~§/V 1»*'2;§.'\?'> 3
_1

 

VI. CAUSE OF ACTION 3

 

 

 

 

 

FoR oFFICE usE oNLY `
RECEIPT # AMOUNT APPLYING lFP JUDGE MAG. JUDGE

 

